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                                    EXHIBIT A

                                PROPOSED ORDER




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

    In re:                                                              Chapter 11

    TSAWD HOLDINGS, INC., et al.,1                                      Case No. 16-10527 (MFW)

                                 Debtors.                               (Jointly Administered)

                                                                        Docket Ref. No. ___


                       NINTH ORDER EXTENDING THE PERIOD WITHIN WHICH
                  THE DEBTORS MAY REMOVE ACTIONS PURSUANT TO 28 U.S.C. § 1452

                    Upon consideration of the motion (the “Motion”)2 of the Debtors for the entry of an

         order, pursuant to Bankruptcy Rules 9006 and 9027, extending the period within which the

         Debtors may remove the Actions pursuant to 28 U.S.C. § 1452 through and including February

         26, 2018; and upon consideration of the Motion and all pleadings related thereto; and due and

         proper notice of the Motion having been given; and it appearing that no other or further notice of

         the Motion is required; and it appearing that the Court has jurisdiction to consider the Motion in

         accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from

         the United States District Court for the District of Delaware, dated February 29, 2012; and it

         appearing that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that

         venue of this proceeding and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

         it appearing that the relief requested in the Motion and provided for herein is in the best interest


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                The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
                Holdings, Inc. (9008); Slap Shot Holdings Corp. (8209); TSAWD, Inc. (2802); TSA Stores, Inc. (1120); TSA
                Gift Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc. (5664). The headquarters for the above-
                captioned Debtors is located at 2305 East Arapahoe Road, Suite 234, Centennial, CO 80122.

                The Debtors were formerly known as: Sports Authority Holdings, Inc. (9008); Slap Shot Holdings Corp.
                (8209); The Sports Authority, Inc. (2802); TSA Stores, Inc. (1120); TSA Gift Card, Inc. (1918); TSA Ponce,
                Inc. (4817); and TSA Caribe, Inc. (5664).
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                Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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         of the Debtors, their estates and creditors; and that the legal and factual bases set forth in the

         Motion establish just cause for the relief granted herein; and any objections to the Motion having

         been withdrawn or overruled on the merits; and upon all of the proceedings had before the Court

         and after due deliberation and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The time period provided by Bankruptcy Rule 9027 within which the Debtors

         may file notices of removal of claims and causes of action is hereby enlarged and extended

         through and including February 21, 2019 (the “Removal Deadline”).

                3.      This Order shall be without prejudice to (a) the rights of the Debtors to seek

         further extensions of the Removal Deadline and (b) any position the Debtors may take regarding

         whether section 362 of the Bankruptcy Code applies to stay any Action.

                4.      The Debtors are authorized to take all actions necessary to effectuate the relief

         granted pursuant to this Order in accordance with the Motion.

                5.      This Court shall retain jurisdiction to hear and determine all matters arising from

         or related to the implementation of this Order.




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